                       Case 1:18-cr-00602-WHP Document 4 Filed 08/21/18 Page 1 of 7
AO 98 (Rev. 12/ 11 ) Appearance Bond



                                            UNITED STATES DISTRICT COURT
                                                                       for the
                                                      Southern      District of New York
                                                                                                        Judge Pauley
                     United States of America                              )
                                       V.                                  )


                        MICHAEL COHEN                                      ~
                                                                           )
                                                                                    18
                                Defendant

                                                            APPEARANCE BOND

                                                            Defendant's Agreement
I,                       MICHAEL COHEN                          (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
            ( IZ! ) to appear for court proceedings;
            ( IZ! ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( IZ!) to comply with all conditions set forth in the Order Setting Conditions of Release.
                                                                  Type of Bond
( IZ! ) (1)    This is a personal recognizance bond .

( IZ! )   (2) This is an unsecured bond of$              500,000.00
                                                        ~--'--~~~~~~~~~~




(0 )      (3) This is a secured bond of$                                                 , secured by:

          (0 )     (a) $                                 , in cash deposited with the court.

          (D )     (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                   (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                   ownership and value):



                   If this bond is secured by real property, documents to protect the secured interest may be filed ofrecord.

          (D )     (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety) :




                                                      Forfeiture or Release of the Bond

 Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
 agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
 security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
 may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
 interest and costs.
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                                                                                                                            Page 2

AO 98 (Rev. 12111) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                          Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:
          ( 1)    all owners of the property securing this appearance bond are included on the bond;
          (2)     the property is not subject to claims, except as described above; and
          (3)     I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
          while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety- have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. I agree to this Appearance Bond.




 l, the defendant - and each surety - declare under penalty of perjury that this information is true. (See 28 U.S .C.§ 1746.)


Date: August 21, 2018




                 Surety/property owner - printed name                          Surety/property owner - signature and date




                 Surety/property owner - printed name                          Surety/property owner - signature and date




                 Surety/property owner - printed name                          Surety/property owner - signature and date




 Date: August 21, 2018


Approved.

Date: August 21, 2018
                                                                                   A USA signature - Rachel Maim in
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AO l 99A (Rev. 12/1 1) Order Setting Conditions of Release                                               Page I of _ _ _ Pages



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Southern   District of   New York
                                                      -----


                     United States of America                                )
                                v.                                           )
                                                                             )        Case No.
                         MICHAEL COHEN                                       )
                                Defenda nt                                   )

                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant ' s release is subject to these conditions:

(I)    The defendant must not violate federal , state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 1413 Sa.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose .

       The defendant must appear at:
                                                                                                 Place




       on
                                                                            Date and Tim e


       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered .
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AO I 998 (Rev. I 2/1I) Additional Conditions of Release                                                                                        Page      of       Pages
                                                     ADDITIONAL CONDITIONS OF RELEASE
        IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( 0)     (6)The defendant is placed in the custody of:
            Person or organization
            Address (only if above is an organi=ation)
            City and state                                                                              Tel. No.
~ho a~rees t? (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court _p_r-oc_e_e_d-in_g_s_, _an
                                                                                                                                           _ d_(_c_) _n_o-ti-fy- th-e- co_u_rt_
1mmed1ately 1fthe defendant violates a condition of release or is no longer in the custodian's custody.


                                                                                                            Custodian                                         Date
(~)      (7) The defendant must:
       ( 0 ) (a) submit to supervision by and report for supervision to the PRETRIAL SERVICES - (Standard)
                 telephone number                             , no later than
       ( 0) (b) continue or actively seek employment.
       ( 0) (c) continue or start an education program.
       ( ~ ) (d) surrender any passport to :     COUNSEL
       (~) (e) notobt~napassportorotherin-te     _r_
                                                   n_a~
                                                      ti-
                                                        on
                                                         _a_l_t-
                                                               ra_v_
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                                                                       do
                                                                        _c_u_m
                                                                             _e_n_t-
                                                                                   . ---------------------------~

       ( ~) (f) abide by the following restrictions on personal association, residence, or travel:    Southern Dist. ofN.Y., Eastern Dist. ofN.Y.,
                       Southern District of Florida, Northern District of Illinois, and Washington D.C.
       ( 0 ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including:

       (0 )     (h) get medical or psychiatric treatment:

       (0 )     (i) return to custody each
                                           -----
                                                 at _ _ __ o'clock after being released at _ _ _ _ _ o'clock for employment, schooling,
                    or the following purposes:

       (0 )    U) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
        ( ~ ) (k) not possess a firearm, destructive device, or other weapon.
        ( 0 ) (l) not use alcohol ( 0 ) at all ( 0 ) excessively.
        ( 0 ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
        ( 0 ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                   accuracy of prohibited substance screening or testing.
        ( 0) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
        ( 0) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   ( 0) (i) Curfew. You are restricted to your residence every day ( 0) from                                to             , or ( 0 ) as
                                directed by the pretrial services office or supervising officer; or
                   ( 0 ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                activities approved in advance by the pretrial services office or supervising officer; or
                   ( 0 ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                court appearances or other activities specifically approved by the court.
         ( 0) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                   (0 ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                           supervising officer.
         ( 0 ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                    arrests, questioning, or traffic stops.
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                              ADDITIONAL CONDITIONS OF RELEASE
( [8'J ) (s) $500,000 Personal Recognizance Bond; Co-signed by wife and 1 additional financially responsible
        person; Travel restricted to Southern District of New York, Eastern District of New York. Southern
        District of Florida, Northern District of Illinois, and Washington D.C. ; Passport to be surrendered to
        counsel - (No new applications); Surrender to law enforcement within 24 hours all firearms and
        ammunition. Standard pretrial supervision. Defendant to be released today upon his own signature,
        with one week to provide the remaining signatures.
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AO I 99C (Rev. 09/08) Advice of Penalties                                                                   Page _ _   _   of _ _ _ Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine , or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten
       years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than I 0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felon y - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and th at I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                              Defendant 's Si



                                                                               (           City and State



                                               Directions to the United States Marshal

         The defendant is ORDERED released after processing.
         The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
         defendant has posted bond and/or complied with all other conditions for release . If still in custody, the defendant must be
         produced before the appropriate judge at the time and place specified.


 Date: - - - - - - - -- - -
                                                                                    Judicial Officer 's Signature



                                                                                       Printed name and title
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                     DISTRIBUTION :     COURT   DEFEND ANT   PRETRIAL SERVICE   U.S . ATTORNEY      U.S. MARSHAL




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